        Case 1:16-cv-02350-ELR Document 23 Filed 09/14/16 Page 1 of 8



               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DANTE GAMBOA,                                 )
                                              )
      Plaintiff,                              )
                                              )     CIVIL ACTION FILE NO.
v.                                            )
                                              )     1:16-cv-02350-ELR-RGV
MERRICK BANK CORPORATION,                     )
CARSON SMITHFIELD, LLC, and                   )
FINANCIAL BUSINESS AND                        )
CONSUMER SOLUTIONS, INC.,                     )
                                              )
      Defendants.                             )
                                              )

MERRICK BANK CORPORATION AND CARSON SMITHFIELD, LLC’S
      REPLY TO PLAINTIFF’S RESPONSE IN OPPOSITION
               TO THE MOTION TO DISMISS

      Pursuant to Local Rule 7.1(C), Merrick Bank Corporation (“Merrick”) and

Carson Smithfield, LLC (“Carson”), Defendants in the above-styled action, reply to

Plaintiff’s Response in Opposition to the Motion to Dismiss the Complaint

(“Response”) [Doc. 20] to address a single issue. In the Motion to Dismiss, Merrick

and Carson explained why Plaintiff’s failure to sufficiently plead facts regarding his

alleged revocation of consent is fatal to the Complaint. In his Response, Plaintiff

completely ignored his failure to include these details in his Complaint and likewise

ignored Defendants’ arguments addressing why such details were important and

necessary. Instead, Plaintiff’s Response highlights the critical importance of his
         Case 1:16-cv-02350-ELR Document 23 Filed 09/14/16 Page 2 of 8



alleged revocation by making it central to his claim under the Fair Debt Collection

Practices Act (“FDCPA”) in addition to his claims under the Telephone Consumer

Protection Act (“TCPA”).

      Despite the acknowledged significance in this lawsuit of Plaintiff’s alleged

revocation of consent to be contacted on his cell phone, Plaintiff refuses to provide

any factual enhancement to his vague claim that at some unspecified time he told

someone, also not specified, to stop calling his cell phone. Plaintiff’s failure to allege

any factual specificity regarding the purported revocation is fatal to his Complaint.

      A pleading containing mere “labels and conclusions, and a formulaic

recitation of the elements of a cause of action will not do.” Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 555 (2007). Rather, plaintiffs are required to make factual

allegations which are “enough to raise a right to relief above the speculative level.”

Id. at 555. Stated differently, a complaint does not suffice “if it tenders ‘naked

assertion[s]’ devoid of ‘further factual enhancement.’” Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009) (quoting Twombly, 550 U.S. at 557).

      In his Response, Plaintiff acknowledged some of the deficiencies in the

Complaint, withdrawing two of the three claims he brought under the FDCPA and

deciding to proceed solely under § 1692(d) of the FDCPA. (Response p. 5-8.)

Instead of identifying a particular subsection of § 1692(d) that Defendants allegedly

violated, Plaintiff’s FDCPA claim is based entirely on the allegation that



                                            2
         Case 1:16-cv-02350-ELR Document 23 Filed 09/14/16 Page 3 of 8



“Defendants [sic] calls continued after Plaintiff told the Defendants to stop”.

(Response p. 5.) Accordingly, Plaintiff’s FDCPA claim is based solely on his

alleged revocation of consent. (Response pp. 5-8.) In fact, Plaintiff acknowledges

that the “crux” of this cause of action is that “Plaintiff told [Defendants] to stop

calling him.” (Response p. 8.)

       Plaintiff’s TCPA claims also rest on his alleged revocation of consent. To

state a claim under the TCPA, a plaintiff must allege that: (1) a call was made to a

cell or wireless phone, (2) by the use of an automatic dialing system or an artificial

or prerecorded voice, and (3) without prior express consent of the called party.

Augustin v. Santander Consumer USA, Inc., 43 F. Supp. 3d 1251, 1253 (M.D. Fla.

2012). “[A]utodialed and prerecorded message calls to wireless numbers provided

by the called party in connection with an existing debt are made with the ‘prior

express consent’ of the called party . . . such calls are permissible. . . . [T]he provision

of a cell phone number to a creditor, e.g., as part of a credit application, reasonably

evidences prior express consent by the cell phone subscriber to be contacted at that

number regarding the debt.” In re Rules Implementing the Tel. Consumer Prot. Act

of 1991, 23 FCC Rcd. 559, ¶ 9–10 (2008) (footnotes omitted). To the extent that

Plaintiff claims to have revoked consent, the details surrounding Plaintiff’s alleged

revocation are critical to the claims at issue.




                                             3
        Case 1:16-cv-02350-ELR Document 23 Filed 09/14/16 Page 4 of 8



      Plaintiff’s alleged revocation of consent to be called on his cell phone is at the

heart of Plaintiff’s FDCPA and TCPA claims. Despite this fact, Plaintiff refused to

address the failure of the Complaint to include these critical facts and allegations and

refuses to provide any factual enhancement of the naked assertion that he asked

“Defendants to stop calling him.” As such, Plaintiff has failed to raise his right to

relief above the vague and speculative level. Who did he ask to stop calling him?

Which of the “Defendants”? When did he ask someone to stop calling him? How

did he communicate the request? The answers to these questions are crucial to

Plaintiff’s claims. By way of example only, as a matter of law, Carson could not be

held liable if the revocation of consent occurred after Carson ceased making alleged

phone calls to Plaintiff.

      Simply put, Plaintiff’s bare, conclusory allegation that he asked “Defendants

to stop calling him” lacks the specificity that Twombly and Iqbal demand.

      WHEREFORE, Merrick and Carson pray that Plaintiff’s Complaint be

dismissed as to Merrick and Carson and for such other and further relief as this Court

deems just and proper.

      Respectfully submitted this 14th day of September, 2016.




                                           4
       Case 1:16-cv-02350-ELR Document 23 Filed 09/14/16 Page 5 of 8



                                         Respectfully submitted,

                                         HOLLAND & KNIGHT LLP


                                          /s/ A. André Hendrick
                                         A. André Hendrick, Esq.
                                         Georgia Bar No. 774212
                                         Joshua H. Roberts, Esq.
                                         (Admitted pro hac vice)
                                         Florida Bar No. 42029

Regions Plaza, Suite 1800
1180 West Peachtree Street
Atlanta, Georgia 30309
Telephone: (404) 817-8500
E-Mail: andre.hendrick@hklaw.com

50 N Laura Street, Suite 3900
Jacksonville, FL 32202
Telephone: (904) 353-2000
E-Mail: joshua.roberts@hklaw.com

                                         Attorneys for Defendants Merrick
                                         Bank Corporation and Carson
                                         Smithfield, LLC




                                     5
        Case 1:16-cv-02350-ELR Document 23 Filed 09/14/16 Page 6 of 8



           LR 7.1(D) FONT COMPLIANCE CERTIFICATION

      The undersigned counsel for Defendants Merrick Bank Corporation and

Carson Smithfield, LLC hereby certifies that the within and foregoing document was

prepared using Times New Roman 14-point font in accordance with Local Rule 5.1B

of the United States District Court for the Northern District of Georgia.

      Respectfully submitted this 14th day of September, 2016.

                                          HOLLAND & KNIGHT LLP


                                           /s/ A. André Hendrick
                                          A. André Hendrick, Esq.
                                          Georgia Bar No. 774212
                                          Regions Plaza, Suite 1800
                                          1180 West Peachtree Street, N.W.
                                          Atlanta, GA 30309-3407
                                          (404) 817-8500 (phone)
                                          andre.hendrick@hklaw.com

                                          Attorneys for Defendants Merrick Bank
                                          Corporation and Carson Smithfield, LLC




                                          6
        Case 1:16-cv-02350-ELR Document 23 Filed 09/14/16 Page 7 of 8



               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

DANTE GAMBOA,                                )
                                             )
      Plaintiff,                             )
                                             )      CIVIL ACTION FILE NO.
v.                                           )
                                             )      1:16-cv-02350-ELR-RGV
MERRICK BANK CORPORATION,                    )
CARSON SMITHFIELD, LLC, and                  )
FINANCIAL BUSINESS AND                       )
CONSUMER SOLUTIONS, INC.,                    )
                                             )
      Defendants.                            )
                                             )

                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that I have this day caused to be served a true and

correct copy of the foregoing MERRICK BANK CORPORATION AND

CARSON SMITHFIELD, LLC’S REPLY TO PLAINTIFF’S RESPONSE IN

OPPOSITION TO THE MOTION TO DISMISS THE COMPLAINT with the

Clerk of Court by using the CM/ECF system, which will automatically send e-mail

notification of such filing to the following Counsel of Record:

                          Sumeet Shah, Esq. (GBN 122408)
                          Centrone & Shrader, PLLC
                          612 W. Bay Street
                          Tampa, Florida 33606
                          Telephone: (813) 360-1529
                          Facsimile: (813) 336-0832
                          E-Mail: sshah@centroneshrader.com
                          Attorney for Dante Gamboa
           Case 1:16-cv-02350-ELR Document 23 Filed 09/14/16 Page 8 of 8



                          Michael K. Chapman, Esq. (GBN 322145)
                          Bedard Law Group, P.C.
                          2810 Peachtree Industrial Blvd., Suite D
                          Duluth, Georgia 30097
                          Telephone: (678) 253-1871
                          E-Mail: mchapman@bedardlawgroup.com
                          Attorney for Defendant, Financial Business and
                          Consumer Solutions, Inc.


        Respectfully submitted this 14th day of September, 2016.

                                              /s/ A. André Hendrick
                                              A. André Hendrick, Esq.
                                              Georgia Bar No. 774212




                                          2
#47971734_v1
